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UNlTED STATES BANKRUPTCY COURT
EASTERN DiSTR|CT OF NEW YORK

 

----------------- x cHAPTER 13
lN REZ CASE NO.I 18-43309
CEDRIC `VILSON
DEBTOR(s).
________________________________________________________ X
CHAPTER 13 PLAN Revised 12/19/17

 

iii Check this box if this is an amended pian. List below the sections ofthe plan which have been
changed:

 

PART 1: NOTICES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in yourjudicia| district. Pians
that do not comply with the local rules for the Eastern District of New ‘i'ori< may notice confirmabie. |f you do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated You should
read this plan carefully and discuss it with your attorney. ifyou do not have an attorney, you may wish to consult one.
|fyou oppose the pian’s treatment of your claim or any provision of this pian, you or your attorney must fiie an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bani<ruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Banl<ruptcy Ruie 3015. in addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: The foiiowing matters may be of particular im portance. Debtors must check one box on each line to state
whether or not the plan includes each of the following items. if an item is checked as ”Not included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the pian.

 

a. A limit on the amount of a secured ciaim, set out in Seciion 3.4, which may result in m included m Not included
a partial payment or no payment at all to the secured creditor

 

b. Avo|dance ofa judicial lien or nonpossessory, non-purchase-money securiiyinterest, m included m Not included
setout in Seci|on 3.6

 

c. Nonstandard provisions, set out in Part 9 L_.l included Noi included

 

 

 

 

 

 

1.2: ihe following matters are for informational purposes

 

a. Tiie debtor(s} is seeking to modify a mortgage secured bythe debtor(s)'s principal m included Ci Noi included
residence, set out in Section 3.3

 

b. Unsecured Crediiors, set out in Part 5, will receive 100% disiribution of their timely filed m included l:] Not included
claim

 

 

 

 

 

 

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PART 2: PLAN PAYNiENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor{s) are submitted to the supervision and control of the Trustee
and the Debtor(s) shall pay to the Trustee for a period of 60 months as foilows:

$ 2,995.93 per month commencing 07!01#*2018 through and including crim/2023 for a period of 60
months; and

$ per month commencing through and including for a period of
months.

m Continued on attached separate page(s}.

2.2: income tax refunds.

if general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) wi|i provide the Trustee with signed copies of fiied federal and state tax
returns for each year commencing with the tax year , no later than Apri|15"‘ of the year following the
tax period. indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than june 15"‘
of the year in which the tax returns are filed.

2.3: Additional payments.

Checi< one.
E?.i None. if ”None" is checkedJ the rest of §2.3 need not be completedl
Ei Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified beiow.
Describe the source, estimated amount, and date of each anticipated payment.

 

 

PART 3: TREATlVlENT OF SECURED CLAllViS
3.1: iviaintenance of payments (inciuding the debtor(s)'s principal residence).

Check one.

iii None. if "None” is checked, the rest of §3.1 need not be completed

Ci Debtor{s) will maintain the current contractual installment payments on the secured claims listed
beiow, with any changes required by the applicabie contract and noticed in conformity with any
applicable rules. These payments Wi|i be disbursed directly by the debtor(s).

 

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-1_i_\ia_rrie of.Crec_|itor ~ f_.Acr,ouni Residence : _ D€SCi°lptiOn of CO||aterai " " Payrnent(inciuding
" w w "' Number ' (CheCkbOX) " "' " ` . . -. escrow) `

 

Ei
U

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3.2: Cure of default (including the debtor(s)'s principal residence).

Check one.

Ei None. if ”None” is checked, the rest of §3.2 need not be completed

L;i Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any
contrary amounts listed below. in the absence of a contrary timely filed proof of claim, the amounts
listed below are controlling

 

-j. .- _ 13514_ :`.Prin_cipai_.'_'-.' _ . '. .j"
.-i_\iarn_e of Creditor __ Dlgits of j iiesidenc.e_ jj _-'.E_Des_Cripthli of Col_la_tera_| -_ fj` '
'- '-- -f AcctNo. `{Checlt bOX) 1 ' ' -

l;l
Ei

" A'moun_t _of_ if '. interest 'Rat_e'-_-
" _Arreara_ge_;j -_';`{_if_anyl :

 

 

 

 

 

 

 

 

 

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3.3: Niodification of a mortgage secured by the debtor(s)’s principal residence.
Check one.
iii The debtor(s) is not seeking to modify a mortgage secured by the debtor's principal residence.
iii The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence.
Compiete paragraph below.
iii lt applicab|e, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage due to F|fili Thirfi BR'\|¢ (creditor name} on the property known as

252 nichAvm-I-=,Mouu vernon under account number ending 1698 (iast four digits of account number) is in default.
A|| arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling $107,056.01 , may be capitalized pursuant to a loan modification. The new principal

baiance, including capitalized arrears will be $555,9','1.54 , and will be paid at dmjim% interest amortized over

40 years with an estimated monthly payment of$ 2,723.62 including interest and escrow of
$ 400.00 . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is

pending and until such time as the debtor(s) has commenced payment under a trial loan modification
Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedule l to reflect the terms of the trial agreement including the direct payment to the secured
creditor going forward by the debtor(s).

 

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` 3.4: Request for valuation of security, payment of fully secured cialms, and modification of
under-secured claims.

Check one.
ill None. if ”None” is checked, the rest of §3.4 need not be completed

The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.

ill The debtor(s) shall tile a motion to determine the value of the secured claims listed below. Such claim
shall be paid pursuant to order of the court upon determination of such motion.

 

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__`Cred_itor:i_:-` g f .CO||a_l€ra|'-` _°-C.€l_l|ate_ral -:_"‘."°-C'?'m _.-.."Ci§d_li°*"$.-.-` Ciedii‘?'i'$i:*?-'
'- . . " .:ACct NO. .r '- - ..; .- .' '- ` SecuredC|aim: .UnsecuredCiaim

 

 

 

 

 

 

 

 

 

 

 

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3.5: 5ecurecl claims on personal property excluded from 11 U.S.C. §506.

Check one.
El None. if ”None” is checked the rest of §3.5 need not be completed
Ci The claims listed below were either:
0 incurred within 910 days before the petition date and secured by a purchase money security
interest in a motor vehicle acquired for the personal use of the debtor(s}; or
0 incurred within l year ofthe petition date and secured by a purchase money security interest
in any other thing of value.
These claims will be paid pursuant to §3.1 and/or §3.2. (“lhe claims must be referenced in those
sections as weil.) Un|ess otherwise ordered by the court, the claim amount stated on a proof of claim
filed before the filing deadline under Banl<ruptcy Ru|e 3002(£) controls over any contrary amount listed
below. in the absence of a contrary timely filed proof of ciaim, the amounts stated below are
controlling

 

 

".'.Name of Cre_d_itor.' ff _`: La-stgmg't's_- Col|aterai '_ Arno.u.nto_fClaim' `i"lnterestRate .
' ofAcct No. - _ . _ _ . _ . _ _

 

 

 

 

 

 

 

 

 

 

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3.6: Lien avoidance.

Checl< one.

lIl None. if ”None” is checked, the rest of §3.6 need not he completed

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The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is

checked.

The debtor(s) shall file a motion to avoid the foilowin§,l judicial liens or nonpossessory, non»purchase

money security interests as the claims listed below impair exemptions to which the debtor(s) are
entitled under ll U.S.C. §522lb) or applicabie state iaw. See 11 U.S.C. §522(€) and Bankruptcy Ru|e
4003(d). Such claim shall be paid pursuant to order ofthe court upon determination of such motion.

 

__ __ _ _ _ _ . _ . . : `- ._ _ . - ` -`§ : ' .- ' _ estimated . imé,,égt`gafé § " _. Est_l_mated '
- '. _ ; ': _' f"."'LiEri 'DESCfipthlii Ol Amountof "on$ecure`d- '-`Arn`o`untoi '
.'.Name ofCreditor-` -ZA'€tQVn€Ver--" -' " _ ' '- - ._ . -- --- ;'- .- - " z -- ' -- -_`
-___-- - - ._ _- . - " _;Credi'to__- _- ._;de_n_t|fication z -_ .-g{_){_|_at@r_,_g,l-E _- _ '_ _Secu_red_ _ _.P_Qiii€>n,l__f ._U_nsecu_r_e_d_ _
-; . . . ' ._ ' -'C[aim ':"3."\" ""Claim "

 

 

 

 

 

 

 

 

 

 

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3.7: Surrender of collateral.

Checl< one.

ill None. if ”None” is checked the rest of §3,7 need not be completed
Cl The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's
claim. The debtor(s) request that upon confirmation ofthis plan the stay under 11 U.S.C. §362(a) be

terminated as to the co|iateral only and that the stay under 11 U.S.C. §1301 be terminated Any timely

filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5

below.

 

" - -_ if ' '- -'Na_me of Creditor

Last_4 b`i'gic's'¢f
Acct No. `

 

' ' ' Description of COl|atéi§l

 

 

 

 

 

 

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PART 4: TREAT|V!ENT OF FEES AND PR|OR|TY CLA|IVIS

4.1: Generai.

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
in §4.5, will be paid in full without post~petition interest

4.2: Trustee’s fees.

irustee’s fees are governed by Statute and may change during the course of the case

4.3: Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is $ 0.00 .

4.4: Priority ciaims other than attorney's fees and those treated in §4.5.

Check One.
El None. if ”None" is checked the rest of §4.4 need not be completed
Cl The debtor(s) intend to pay the following priority claims through the plan:

 

 

'Name ofCreditor " :- ' - '-"-Hl§stirnated Claim Amount

 

 

 

 

 

 

g Continued on attached separate page(s).

4.5: Domestic support obligations.

Check One.
El None. if "None” is checked the rest of §4.5 need not be completedl
C| The debtor($) has a domestic support obligation and is current with this obligation Compiete table
below; do not fill in arrears amountl
ill The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
the Plan. Complete table below.

 

1_ Ma{{iii§t§s`o 'A'E~HEEM

"-Dateof_ _
`- Payment_ ` ` Pald through Plan,ifAny

Na_me of_Recrptent Order _ - N_a_me_ o_f___Co_ur_t___

 

 

 

 

 

 

 

 

 

 

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PAR`f 5: TREATIV|EN'l` OF NONPR|OR|TY UNSECURED CLA|lVlS
A|lowed nonprlority unsecured claims will be paid pro rata:

Cl Not less than the sum of$
[Zl Not less than 100 % of the total amount of these claims.
El From the funds remaining after disbursement have been made to all other creditors provided for in
this plan.
if more than one option is checked, the option providing the largest payment will be effective

 

PART 5: EXECUTORV COl\l'i'RACTS AND UNEXP|RED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. All other executory contracts and unexpired leases are relected.

Check one.
El None. lf ”None” is checkea', the rest of §6.1 need not be completed
Cl Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
below, subject to any contrary court order or rule. Arrearage payments Will be disbursed by the

trustee

 

- - ' .' ' " .Description of Leas.ed _Property or ' 'cu`_rrentinst_allnient_"_? inméu`_n_'t:or'Arreara-ee
" Name ?-f'C'red-'to-r--" ` " "`Executory Contra(;t ` - Payment by Debto'r ' to be Paid byTrustee

 

 

 

 

 

 

 

 

 

PART 7: VEST|NG OF PROPERTY OF THE ESTATE

Un|ess otherwise provided in the Order of Confirrnation, property of the estate will vest in the
debtor(s) upon completion of the plan.

PART 8: POST-PET|T|ON OBLlGAT|ONS_

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

8.2: Throughout the term of this Plan, the debtor(s) will not incur post~petition debt over $2,500.00
without Written consent of the Trustee or by order of the Court.

 

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PART 9: NONSTANDARI.) PLAN PROVIS|ONS

9.1: Check ”None" or list nonstandard plan provisions.
iii None. if ”None" is checked the rest of §9.1 need not be completed

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is o
provision not otherwise included in the form plan or deviating from it. Nonstonciord` provisions set out
elsewhere in this plan ore ineffective

The follo wing plan provisions will be effective only if there is a check in the box ”lncluded” in §l.l{c).

 

 

 

 

PART 10: CERT|F|CAT|ON AND SlGNATURE{S):

10.1: l/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph

/Sr’ Cedrio Wilson

 

Signature of Debtor 1 Signature of Debtor 2
Dated: July 10, 2013 Dated:

iSi Anthonv M Vassallo
Signature of Attorney for Debtor{s)

Dated: Jtlly I{], 2013

